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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS

JASMINE BUDZYN,                                    )
                                                   )
                      Plaintiff,                   )
                                                   )
       v.                                          )
                                                   )
KFC Corporation; KFC; FQSR, LLC; KBP Foods,        )
LLC; JAMES JOHNSON JR. INDIVIDUALLY                )     Case No. 21-cv-4152
and as agent and/or employee of KFC Corporation,   )
FQSR, LLC, and/or KBP Foods, LLC,                  )
                                                   )
                      Defendants.                  )

                                     NOTICE OF MOTION

To:    See service list

       PLEASE TAKE NOTICE that on the 22nd day of October 2021, at 9:45 a.m., we shall
appear before the Honorable Sharon Johnson Coleman, or any judge in her stead in the
courtroom usually occupied by her in room 1241 of the United States District Courthouse,
Dirksen Federal Building, 219 South Dearborn Street, Chicago, Illinois 60604 and present,
Defendant Johnson’s Motion to Stay, a true and correct copy of which is attached hereto and
hereby served upon you.

                                                  /s/ Hall Adams
                                           Attorney for Defendant, James Johnson, Jr.

                                   CERTIFICATE OF SERVICE

      The undersigned attorney certifies that I served the foregoing, Notice of Motion of
Defendant Johnson’s Motion to Stay, upon the above attorney via email on this 12th day of
October 2021.
                                                    /s/ Hall Adams
                                            Attorney for Defendant, James Johnson, Jr.

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     Case: 1:21-cv-04152 Document #: 19 Filed: 10/12/21 Page 2 of 2 PageID #:64



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